
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
In these consolidated appeals, Fatima and Kamal Mustafa appeal from the district court’s orders affirming two orders of the bankruptcy court granting the Appel-lees’ motion for relief from the automatic stay in order to proceed with post-foreclosure sale actions. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Mustafa v. PennyMac Corp., No. 8:16-cv-00494-PJM.; Mustafa v. PMT NPL Financing, No. 8:16-cv-00523-PJM (D. Md. Filed Mar. 29, 2017, and entered Mar. 30, 2017). We dispense with oral argument because the facts and legal contentions are adequately presented in the material before this court and argument would not aid the decisional process.

AFFIRMED

